Case 2:03-cr-20440-.]DB Document 48 Filed 04/18/05 Page 1 of 2 Page|D 50

IN THE UNITED STATES DISTRICT COURT FH'*;'"" ""‘ - --
FOR THE wESTERN DISTRICT OF TENNESSEE _ _
wESTERN DIVISION 05 APR |8 PHI£~ de

ROBEHT R,Di'JCUG
CLEHK UB.DENlCT

UN:TED STATES OF AMERICA, WD_OFTN MEMHMS

Plaintiff,
Cr. No. 03-20440-B

)

)

)

)

vS. )
)

WILL EARNEST REDMOND, SR. )
)

)

Defendant.

 

ORDER GRANTING SENTENCING DATE RE-SET

 

The United States has moved to re-eet the Sentencing date of
April 28, 2005.

The new date will be Set by the Court Clerk On er after May
l, 2005.

For good cause ehown, it is 50 ORDERED this lv@` day cf

April, 2005.

 

 

J. D NIEL BREEN
U it d States District Judge

    

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CAMILL R[ MCMUCLEN, AUSA

`=S do"ument entered on the docket sham M 'W.;.i _\

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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Honorable J. Breen
US DISTRICT COURT

